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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA                                 Criminal No. l 8-cr-00616 (RBK)

          V.

  KRISTIE MASUCCI


                             STIPULATED PROTECTIVE ORDER

          This matter having come before the CoUJi on the application of the United States and the

 defendant in the above-captioned matter by and through the undersigned counsel, for a protective

 order. The parties respectfully request the Court issue an Order in the form set forth below. The

 parties state as follows:

         1.      The defendant pied guilty to an Information charging her with conspiracy to

 commit health care fraud, contrary to Title J 8, United States Code, Section 1347 and in violation

 of Title 18, United States Code, Section 1349.

         2.      The investigation, which preceded the filing of the Information against the

 defendant, included the use of grand jury subpoenas to obtain prescription documentation and

 medical records, as well as interviews of multiple witnesses.

         3.      The United States has agreed to make discovery available to the defendant through

 her counsel, Amy Luria, Esquire, and Michael Critchley, Esquire, in order to prepare for the

 sentencing hearing. Counsel for the United States and counsel for the defendant both believe that

 this manner of proceeding is in the best interest of their respective clients.

         4.      In compliance with the Government"s disclosure obligations, the Government may

 disclose to the defense: witness statements. documentation regarding prescriptions obtained by


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 potential witnesses, and personal medical records of potential witnesses (collectively referred to

 hereafter as "Confidential Discovery Information").

        5.      There is a significant possibility that disclosure of the Confidential Discovery

 Information would be detrimental to victims, witnesses, and/or uncharged persons and

 compromise the Government's ongoing investigation.

        6.      Access to Confidential Discovery Information will be restricted to personnel

 authorized by the Co.urt, namely the defondant and her attorneys of record, and those attorneys'

 associated counsel, paralegals, investigators, experts (retained pursuant to a written retainer

 agreement, by a defendant and/or her counsel in connection with the criminal case), secretaries

employed by the attorneys of record and performing services on behalf of the defendant,

prospective witnesses (to the extent deemed necessary by defense counsel, for preparation for the

sentencing hearing), and such other persons as hereafter may be authorized by the Government or

the Court upon motion by the defendant. Confidential Discovery Information may be shown to

 prospective witnesses, but such discovery may not be given to or remain in the custody of

 prospective witnesses.

        7.     The following restrictions will be placed on the above-designated individuals

 unless further ordered by the Court. The above-designated individuals shall not:

                a.        Duplicate Confidential Discovery Information for, or allow copies of any

                          kind to be made by, any other person, or allow the Confidential Discovery

                          Information to be otherwise disseminated outside of defense counsel's

                          office or law firm except as provided for above.

                b.        Allow defendant to retain copies of Confidential Discovery Information:


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               c.      Allow any other person, including but not limited to co-conspirators and

                       witnesses, to review the Confidential Discovery Information except as

                       provided for above; or

               d.      Use Confidential Discovery Information for any other purpose other than

                       preparing for the defendant's sentencing hearing before this Collli.

        8.     The defendant's attorneys shall inform any person to whom disclosure may be

 made, or has been made, pursuant to this Order, of the existence and terms of this Court's Order.

 The defendant's attorneys shall provide that person a copy of this Order. The designated persons

 shall be subject to the terms of this Order. The defendant and/or her counsel shall maintain a

record of all such persons who have received Confidential Discovery Information.

        9.     The defendant and/or her counsel may not disclose Confidential Discovery

Information to any person not identified above unless the defendant and/or her counsel makes a

written request to the Government for an exception to these restrictions, and such a request is

granted. The Government shall make all reasonable efforts to accommodate such exceptions. If

such exceptions are refused, the defendant and/or her counsel may seek relief from the Court.

        l 0.   Counsel for the defendant shall store the Confidential Discovery Information in a

secure place and shall use reasonable care to ensure that the Confidential Discovery Information

is not disclosed or disseminated to any third party in violation of the below Order. In the event of

any inadvertent disclosure of Confidential Discovery Information, counsel for defendant shall

promptly notify the Court and the Government as to the identity of the recipient of the inadvertently

produced Confidential Discovery Information and shall use all reasonable efforts to secure the

return or destruction of the inadvc11cntly produced Confidential Discovery Information.


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           11.       The requested restrictions shall not limit the use or introduction as evidence of

 materials containing Confidential Discovery Information during the sentencing hearing in this

 matter, subject to Fed. R. Crim. P. 49.1, if the inclusion of such information is relevant to the case

 and the Court and the Government are given,prior notice of the defendant's intent to use such

 information at the sentencing hearing. Moreover, notwithstanding any other provision, the parties

 shall be permitted to disclose Confidential Discovery Information in connection with the filing of

 defense motions with the Court, or for use at Court proceedings, subject to Fed. R. Crim. P. 49.1,

 except that the filing of any Applications shall be made under seal.

           12.       This stipulation is binding, with the consent of the parties, on all future and

 successor counsel.

           13.       The defendant and/or her counsel agree that they have no ownership or proprietary

 interest in the materials subject to the below Order. Upon conclusion of this litigation, defendant's

 attorneys shall return to counsel for the United States, or destroy and certify to counsel for the

 United States such destruction, all materials containing Confidential Discovery Information within

 a reasonable time, not to exceed thirty days after the defendant has exhausted all appellate rights.
                     1/L
  Dated: April.J%,2019                                        Form and entry consented to:

  Camden,        N,!:y Jersey                                 CRAIG CARPENITO
                                                              United States Attorney
       /




                                                              R. DA VJD WALK, JR.
                                                              Assistant United States Attorney




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                                    ORDER




IT IS   so ORWRED
 this   _2~ __ day of April 2019.
                                    ~~f'v~
                                    HONORABLE ROBERT B. KUGLER
                                    UNITED STATES DISTRICT COURT JUDGE

                                    Camden, New Jersey




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